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                       14    BITPAY, INC.

                       15
                                                     UNITED STATES DISTRICT COURT
                       16
                                                   CENTRAL DISTRICT OF CALIFORNIA
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                                                                WESTERN DIVISION
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                             OX LABS, INC.,                              Case No. 2:18-cv-05934-MWF-KS
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                                                   Plaintiff,            DEFENDANT BITPAY, INC.’S
                       21
                                                                         NOTICE OF MOTION FOR
                       22    vs.                                         SUMMARY JUDGMENT
                       23    BITPAY, INC. and Does 1-10,
                                                                         Hearing
                       24                          Defendants.           Date: Sept. 9, 2019
                       25                                                Time: 10:00 AM
                                                                         Place: Hon. Michael S. Fitzgerald
                       26
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                              BITPAY’S NOTICE OF MOTION FOR SUMMARY                         Case No. 2:18-cv-05934-MWF-KS
                              JUDGEMENT
                       Case 2:18-cv-05934-MWF-KS Document 28 Filed 08/12/19 Page 2 of 3 Page ID #:94



                         1          PLEASE TAKE NOTICE THAT at 10:00 a.m. on September 9, 2019, or as
                         2   soon thereafter as the matter may be heard, in Courtroom 5A of the above-referenced
                         3   court, located at 350 West First Street, Los Angeles, California 90012, Defendant
                         4   BitPay, Inc. (“BitPay”) will and hereby does move the Court for summary judgment.
                         5   BitPay bases its motion on this Notice of Motion and Motion, the accompanying
                         6   memorandum of points and authorities, the Declarations of Anthony Gallippi and
                         7   Kirstie Getch in support of this motion and exhibits, the pleadings, records and files
                         8   in this case, and such other matters as may be considered by the Court.
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RUSS, AUGUST & KABAT




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                       13    DATED: August 12, 2019                     RUSS, AUGUST & KABAT
                                                                        Benjamin T. Wang
                       14                                               James Tsuei
                       15                                               By: /s/ Benjamin T. Wang
                       16                                                    Attorney for Defendant
                                                                             BitPay, Inc.
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                       28     BITPAY’S NOTICE OF MOTION FOR SUMMARY     1                     Case No. 2:18-cv-05934-MWF-KS
                              JUDGEMENT
                       Case 2:18-cv-05934-MWF-KS Document 28 Filed 08/12/19 Page 3 of 3 Page ID #:95



                         1                             CERTIFICATE OF SERVICE
                         2          I hereby certify pursuant to the Federal Rules of Civil Procedure and LR 5-3
                         3   and 5-4 that DEFENDANT BITPAY, INC.’S NOTICE OF MOTION FOR
                         4   SUMMARY JUDGMENT was served upon the attorney(s) of record for each party
                         5   through the ECF system as identified on the Notice of Electronic Filing on August
                         6   12, 2019.
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                       10                                             By:     /s/ Benjamin T. Wang
                       11                                                   Benjamin T. Wang
RUSS, AUGUST & KABAT




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                       28     BITPAY’S NOTICE OF MOTION FOR SUMMARY          2                  Case No. 2:18-cv-05934-MWF-KS
                              JUDGEMENT
